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                         IN THE UNITED STATES DISTRICT COURT
                                                            SUPPRESSED
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                     )

                        Plaintiff,
                                               )
                                               )
                                               )
                                                        Criminal No.   a,-3aD3- DUJO
 vs.                                           )        Title 18, United States Code
                                               )        Sections 1962(d), 1959, and 924
 FRANK SMITH,                                  )
    aka "Little Frank," "Little Guy," "Red     )
    Beard," and "R.B.";
 WARREN GRIFFIN,
                                               )
                                               )                                  FILED
    aka "GG" and "Big Head";                   )
 ANTHONY DOBBINS,                              )                                   JAN 2 1 2021
   aka "Tony Rome" and "Crazy";                )
 SEAN CLEMON,                                  )                          CLERK, U.S. DISTRICT COURT
                                                                         SOUTHERN DISTRICT OF lLLINOIS
    aka "Pops";                                )                             EAST ST. LOUIS OFFICE
 DOMINQUE MAXWELL,                             )
   aka "D-Mac" and "Monster";                  )
 PERRY HARRIS,                                 )
    aka "P"; and                               )
 BARRY BOYCE,                                  )
   aka "Little Barry,"                         )
                                               )
                        Defendants.            )
                                               )

                                            INDICTMENT

   THE GRAND JURY CHARGES THAT:

                                            COUNTl
                                     (Racketeering Conspiracy)
                                            Introduction

At all times relevant to this Indictment:

       1.   The Gangster Disciples is a street and prison gang that began in or about the 1960s.

Originally the gang engaged primarily in large-scale drug trafficking and violence in and around

Chicago, Illinois. In the decades since its founding, the gang has spread throughout the United

States and expanded the scope of its criminal activities.
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    2.       The Gangster Disciples are organized according to a hierarchy sometimes referred to

as the "Organizational Structure," or "O.S." Members are required to adhere to the "chain of

command," or "CoC," by carrying out the leaders' wishes and by showing respect for more

senior members.

    3.       Leadership roles within the Gangster Disciples are known as "Positions of Authority,"

or "POAs." The gang's various Positions of Authority include the following:

         a. "Chairman" is the title reserved for Gangster Disciples founder Larry Hoover, who is

            also known by titles of respect such as "Chief," "Dad," and the "Old Man."

         b. "Board Members" are the highest-ranking national leaders beneath the "Chairman,"

            with authority over Gangster Disciples members throughout the entire United States.

            Board Members are sometimes called "elders" or "uncles."

         c. "Governors of Governors" are leaders over multi-state regions of the United States.

            Governors of Governors are sometimes called "Attorneys General."

         d. "Governors" are the highest ranking state-level leaders. Each Governor oversees a

            state-level leadership structure within his respective state. Governors are sometimes

            called "Superintendents."

         e. "Assistant Governors" are the second-in-command of their respective states.

            Assistant Governors are sometimes called "Assistant Superintendents."

         f. "Regents" are leaders of large geographic subdivisions within each state.

         g. "First Coordinators," or "First C's," are leaders of smaller geographic subdivisions

            within each state, called "counts" or "decks."

         h. "Second Coordinators," or "Second C's," are the second-in-command of their

            respective "counts."




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          1.   "Treasurers" - who may hold office at the local, state, or national level - are

               responsible for managing the gang's finances by, for example, collecting dues from

               members and distributing funds to incarcerated leaders.

         J. "Chiefs of Security" - who may hold office at the local, state, or national level -
               are responsible for protecting the organization and its members and leaders from

               physical harm and from arrest by law enforcement. Chiefs of Security are sometimes

               called "Public Safety Advisors," or "PSAs."

         k. "Literature Coordinators" are responsible for maintaining and disseminating the

               gang's "literature," or "lit," which consists of oral and written teachings about the

               group's history, structure, and rules.

         I.    All other members who are in good standing with the organization but do not hold

               leadership positions are known as "Outstanding Members," or "OSMs." Such

               officially recognized members are said to be "plugged in" or "on count."

    4.         Gangster Disciples members are subject to various rules, which are known

collectively as the "laws and policies," or "L's and P's." Those rules include the following:

         a. "Silence and secrecy" is a total prohibition on cooperation with law enforcement,

               with serious violations punishable by death.

         b. "Aid and assistance" is a requirement that members help one another with so-called

               "righteous endeavors," which can include sending money to incarcerated members

               and acting as reinforcement during violent fights with rivals.

         c. "Incident" reporting is a requirement that members notify their superiors of events

               that might result in danger to the gang, such as contact with police or disputes with

               rivals.

    5.         The Gangster Disciples use various terms and symbols to distinguish themselves as

an organization. These include the six-pointed star; the term "Folk"; the colors blue and black;



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the "pitchfork" symbol and hand sign; the numbers "7-4" (representing the positions of letters

"G" and "D" in the alphabet); the phrase "Plenty Much Love" or "PML"; and the Gangster

Disciples "creed" that members are expected to memorize. Male Gangster Disciples members

refer to themselves as "Brothers of the Struggle," often abbreviated "BoS," while females are

called "Sisters of the Struggle," or "SoS." The gang sometimes refers to itself as the "mob" or

the "church." The term "nation" is used to refer to the gang's collective membership throughout

the United States.

     6.    The Gangster Disciples hold regular meetings at which participants pledge loyalty to

the gang, discuss gang business, distribute gang literature, and carry out "violations" in the form

of physical beatings of members who have broken the gang's rules.

     7.    Prospective members wishing to join the Gangster Disciples are sometimes made to

complete written applications known as "602" forms. As part of the screening process, the gang

seeks to determine whether a prospective member has ever cooperated with law enforcement.

     8.    The Gangster Disciples hold gatherings and celebrations on certain dates of

importance to the organization, such as the birthday of founder Larry Hoover.

    9.     The Gangster Disciples are highly active within state and federal prison systems. A

leadership structure exists within each prison facility, with incarcerated members holding

leadership titles such as "Institutional Coordinator." Gangster Disciples members in prison often

communicate with those outside for the purpose of coordinating criminal activity, including

violence against rival inmates and the smuggling of drugs and other contraband into correctional

facilities. Prisons are often referred to as "camps," or "behind the wall."

     10.   Members of the Gangster Disciples sometimes engage in social and charitable

activities using the name "Growth and Development." Such activities are intended in part to

foster goodwill from the community and to provide a cover for the gang's criminal activities.




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                                          The Enterprise

    11.    At all times relevant to this Indictment there existed, in the Southern District of

Illinois and elsewhere, an organization, namely, the Gangster Disciples. The Gangster Disciples,

including its leaders, members, and associates, constituted an enterprise as defined by Title 18,

United States Code, Section 1961(4); that is, a group of individuals associated in fact, which

engaged in and the activities of which affected interstate and foreign commerce. The enterprise

constituted an ongoing organization whose members functioned as a continuing unit for a

common purpose of achieving the objectives of the enterprise.


                                   Purposes of the Enterprise

    12.    The purposes of the enterprise included, but were not limited to, the following:

       a. Enriching the leaders, members, and associates of the enterprise through means

           including drug trafficking and the collection of dues;

       b. Preserving and protecting the power, territory, operations, and proceeds of the

           enterprise through the use of threats, intimidation, and violence, including, but not

           limited to, acts involving murder, assault, obstruction of justice, and other acts of

           violence;

       c. Promoting and enhancing the enterprise and its members' and associates' activities

           through, among other things, conference calls, meetings, celebrations of gang

           holidays, and other gatherings that allowed members to, among other things, find

           other members willing to engage in criminal activity and plan that criminal activity,

           devise ways to hide criminal activity from law enforcement, and discuss ways in

           which members could enrich themselves and the enterprise through various criminal

           schemes;




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           d. Keeping victims and witnesses in fear of the enterprise and in fear of its leaders,

              members, and associates through threats of violence and actual violence, including

              acts involving murder, assault, and intimidation; and

        e. Providing financial assistance to gang members charged with or incarcerated for

              gang-related activities.

                                    The Racketeering Conspiracy

     13.      Beginning on or about a date unknown, but starting no later than December 28, 2009,

and continuing at least until the date of this Indictment, in the Southern District of Illinois and

elsewhere, the defendants,

                  FRANK SMITH, aka "Little Frank," "Little Guy," "Red Beard," and "R.B.";

                  WARREN GRIFFIN, aka "GG" and "Big Head";

                  ANTHONY DOBBINS, aka "Tony Rome" and "Crazy";

                  SEAN CLEMON, aka "Pops";

                  DOMINQUE MAXWELL, aka "D-Mac" and "Monster";

                  PERRY HARRIS, aka "P"; and

                 BARRY BOYCE, aka "Little Barry,"

and other known and unknown, each being a person employed by and associated with the

Gangster Disciples, an enterprise engaged in, and the activities of which affected, interstate and

foreign commerce, did knowingly, willfully, and unlawfully combine, conspire, confederate, and

agree with one another to violate Title 18, United States Code, Section 1962(c); that is, to

conduct and participate directly and indirectly in the conduct of the affairs of said enterprise

through a pattern of racketeering activity, as defined in Title 18, United States Code, Sections

1961(1) and (5), consisting of multiple:

       a. acts indictable under Title 18, United States Code, Section 1512 (relating to

              tampering with a witness, victim, or an informant);


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          b. acts indictable under Title 18, United States Code, Section 1513 (relating to

             retaliating against a witness, victim, or an informant);

          c. acts indictable under Title 18, United States Code, Section 1956 (relating to the

              laundering of monetary instruments);

          d. acts indictable under Title 18, United States Code, Section 1958 (relating to use of

             interstate commerce facilities in the commission of murder-for-hire);

        e. acts involving murder, chargeable under Missouri Revised Statutes, Sections 565.020;

             565.021; 562.012; and 562.014;

       f. acts involving murder, chargeable under Chapter 720, Illinois Compiled Statutes,

             Sections 5/9-1; 5/9-2; 5/8-4; and 5/8-2; and

       g. offenses involving trafficking in controlled substances, in violation of Title 21, United

             States Code, Sections 841(a)(l) and 846.

    14.      It was part of the conspiracy that each defendant agreed that a conspirator would

commit at least two acts of racketeering in the conduct of the affairs of the enterprise.


                                      Roles of the Defendants

    15.      The defendants, as members and associates of the Gangster Disciples, held roles

including the following:

       a. FRANK SMITH held the role of"Board Member";

       b. WARREN GRIFFIN held the role of"Board Member";

       c. ANTHONY DOBBINS held the role of"Board Member";

       d. SEAN CLEMON held the role of "Governor" (or "Superintendent") for the state of

             Missouri;

       e. DOMINQUE MAXWELL held the role of"Assistant Governor" (or"Assistant

             Superintendent") for the state of Missouri;




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        f. PERRY HARRIS held the roles of "Treasurer" and "Chief of Security" (or "Public

             Safety Advisor") for the state of Missouri; and

        g. BARRY BOYCE was a member of the Gangster Disciples in Missouri.



                                             Overt Acts

        In furtherance of the conspiracy, and to accomplish the objects and purposes thereof: the

defendants and others committed various overt acts in the Southern District of Illinois and

elsewhere, including but not limited to the following:

        I.      On or about December 28, 2009, DOBBINS sent a letter to a Gangster Disciples

member expressing DOBBINS's intention to become the first Board Member from the area of

East St. Louis, Illinois.

        2.      On or about September I, 2014, DOBBINS informed GRIFFIN that Larry Hoover

had appointed both DOBBINS and GRIFFIN as Board Members.

        3.      On or about October 11, 2014, DOBBINS and GRIFFIN discussed challenges to

their authority from subordinate Gangster Disciples members, with DOBBINS indicating that a

particular member should be dealt with violently if he continued to resist.

        4.      On or about November 1, 2014, DOBBINS and GRIFFIN discussed the current

roster of Board Members, which included themselves and SMITH.

        5.      On or about December 6, 2014, DOBBINS and GRIFFIN discussed gang

business including GRIFFIN' s intention to kill Mitchell Coleman, a Gangster Disciples member

in East St. Louis, Illinois, if Coleman continued to resist GRIFFIN's authority.

        6.      On or about January 27, 2015, DOBBINS informed GRIFFIN of his plans to kill

any Gangster Disciples members who challenged his leadership, and specifically expressed that

Mitchell Coleman should be killed as punishment for his insubordination.




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        7.     On or about September 12, 2015, GRIFFIN discussed gang business with

Gangster Disciples member C.M., including GRIFFIN's endorsement of the recent murder of

Mitchell Coleman.

       8.      On or about March 24, 2016, GRIFFIN and DOBBINS endorsed the recent

murders of four Gangster Disciples members, which resulted from the victims' opposition to

GRIFFIN's and DOBBINS's leadership in East St. Louis, Illinois.

       9.      On or about September 15, 2017, a Gangster Disciples Governor of Governors

distributed approximately 100 grams of heroin.

        I 0.   On or about September 20, 2017, a Gangster Disciples Governor of Governors

distributed approximately 50 grams of heroin.

       11.     On or about November 10, 2017, SMITH distributed legal documents for the

purpose of accusing a Gangster Disciples member of cooperating with law enforcement.

       12.     On or about November 24, 2017, DOBBINS and SMITH discussed "Aid and

Assistance" in the form of money transfers from SMITH to DOBBINS.

       13.     On or about November 25, 2017, SMITH and other Gangster Disciples leaders

held an event in Chicago, Illinois, celebrating the birthday of Gangster Disciples founder and

"Chairman" Larry Hoover.

       14.     On or about December 12, 2017, HARRIS possessed a stolen handgun in a

vehicle in Cape Girardeau, Missouri.

       15.     On or about February 15, 2018, SMITH distributed legal documents for the

purpose of accusing a Gangster Disciples member of cooperating with law enforcement.

       16.     In or about early 2018, GRIFFIN held a Gangster Disciples meeting in the St.

Louis metropolitan area at which he removed D.W., also known as "Assassin," from the role of

"Governor" of Missouri and instead appointed C.B. as Governor of Missouri.




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             17.   On or about March 22, 2018, SMITH sent GRIFFIN an announcement identifying

 six Gangster Disciples members, including D.W., also known as "Assassin," as "officially off

 count" and "enemies of the ORG," and threatening "disciplinary actions for a breach of security"

 against anyone who associated with those members.

             18.   On or about April 28, 2018, CLEMON, MAXWELL, HARRIS, and other

 Gangster Disciples members attended a Gangster Disciples meeting in Bridgeton, Missouri.

             19.   During the April 28 meeting, after a dispute arose about Gangster Disciples

 leadership, CLEMON contacted SMITH by phone, and SMITH ordered that his subordinates

 shoot D.W., also known as "Assassin."

         20.       Upon receiving SMITH's order- which was relayed by CLEMON -

 MAXWELL and HARRIS shot at D.W. and others, killing Leroy Allen and wounding D.W. and

 M.K.

         21.       After killing Leroy Allen and wounding D.W. and M.K., MAXWELL told

 SMITH "done," and SMITH ordered MAXWELL to report the shooting to GRIFFIN.

         22.       After the killing of Leroy Allen, CLEMON, MAXWELL, and HARRIS were

 promoted to state leadership positions in Missouri as a reward for the shooting of Leroy Allen,

 D.W., and M.K.

         23.       On or about May 18, 2018, GRIFFIN and DOBBINS shot and killed Ernest

 Wilson, also known as "Don Smokey," a rival Gangster Disciples Board Member, in Chicago,

 Illinois.

         24.       On or about May 30, 2018, MAXWELL, HARRIS, and other Gangster Disciples

 members held a meeting in Charleston, Missouri.

         25.       On or about June 3, 2018, MAXWELL, HARRIS, and another Gangster Disciples

 member shot and wounded C.W. in Cape Girardeau, Missouri.




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             26.   On or about July 19, 2018, SMITH and GRIFFIN discussed changes to the

 Gangster Disciples leadership structure in North Carolina.

             27.   On or about August 9, 2018, GRIFFIN possessed a firearm, four cellular phones,

 Gangster Disciples correspondence, and three false identification documents, and possessed with

 intent to distribute approximately one pound of marijuana, in a vehicle in Madison County,

 Illinois.

         28.       On or about August 10, 2018, DOBBINS possessed approximately 200 grams of

 heroin, approximately 90 grams of crack cocaine, approximately fifty rounds of .40 caliber

 ammunition, and Gangster Disciples correspondence at a residence in Troy, Illinois.

         29.       In or about October of 2018, MAXWELL ordered incarcerated Gangster

 Disciples members in the Missouri prison system to locate K.W. in order to harm or kill K.W.

         30.       On or about October 4, 2018, SMITH sent MAXWELL an image of legal

 documents showing that a Gangster Disciples member had previously cooperated with law

 enforcement.

         31.       On or about October 21, 2018, HARRIS and other Gangster Disciples members

 held a meeting in Charleston, Missouri.

         32.       On or about October 24, 2018, BOYCE distributed approximately 203 grams of

 methamphetamine.

         33.       On or about October 25, 2018, a Gangster Disciples Governor of Governors

 distributed approximately 100 grams of heroin.

         34.       On or about November 7, 2018, a Gangster Disciples Governor of Governors

 distributed approximately 100 grams of heroin.

         35.       On or about November 18, 2018, CLEMON, MAXWELL, BOYCE, and other

 Gangster Disciples members held a meeting in East St. Louis, Illinois.




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        36.        On or about November 27, 2018, a Gangster Disciples Governor of Governors

 distributed heroin.

        37.        On or about December 16, 2018, CLEMON, MAXWELL, HARRIS, BOYCE,

 and other Gangster Disciples members held a meeting in Charleston, Missouri, at which BOYCE

 discussed the distribution of controlled substances.

        38.        On or about February 8, 2019, a Gangster Disciples Governor of Governors

 distributed approximately 100 grams of heroin.

        39.        On or about February 23, 2019, a Gangster Disciples Governor of Governors

distributed approximately 100 grams of heroin.

        40.        On or about March 31, 2019, MAXWELL stabbed D.B. repeatedly in the head

and torso during a fight between Gangster Disciples members and rivals at a nightclub in East St.

Louis, Illinois.

        41.        On or about April 6, 2019, CLEMON, MAXWELL, and other Gangster Disciples

members held a "Growth and Development" community clean-up event in Charleston, Missouri,

during which they discussed the stabbing of D.B.

        42.        On or about April 6, 2019, following the community clean-up, CLEMON,

MAXWELL, HARRIS, BOYCE, and other Gangster Disciples members held a meeting in

Charleston, Missouri, at which D.J. and A.T. were physically "violated," or beaten, for breaking

gang rules.

        43.        On or about May 15, 2019, BOYCE possessed a loaded 9mm handgun in a

vehicle in Charleston, Missouri.

        44.        Beginning no later than in or about August of 2019, and continuing at least

through in or about July of 2020, BOYCE partnered with other Gangster Disciples members,

including MAXWELL, to smuggle 4F-MDMB-BUTINACA, a controlled substance commonly

known as "K2," into various Missouri state prisons.



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           45.   Beginning no later than in or about August of 2019, and continuing at least

 through in or about July of 2020, BOYCE arranged to receive narcotics proceeds via online

 transfers through a third party's account, so as to hide his K2 smuggling scheme from law

 enforcement.

           46.   From in or about August of 2019 through in or about October of 2019, BOYCE

 smuggled 4F-MDMB-BUTINACA, a controlled substance commonly known as "K2," into

 South Central Correctional Center with help from Gangster Disciples inmates at that facility.

        47.      On or about September I 0, 2019, MAXWELL requested that SMITH provide him

 with paperwork showing that two named Gangster Disciples members were cooperating with law

enforcement.

        48.      In or about October of 2019, BOYCE smuggled 4F-MDMB-BUTINACA, a

controlled substance commonly known as "K2," into Missouri Eastern Correctional Center with

help from Gangster Disciples inmates at that facility.

        49.      From in or about October of 2019 through in or about November of 2019,

BOYCE smuggled 4F-MDMB-BUTINACA, a controlled substance commonly known as "K2,"

into Potosi Correctional Center with help from Gangster Disciples inmates at that facility.

        50.      On or about October 24, 2019, GRIFFIN used a contraband cellular phone to

communicate from prison with SMITH and request SMITH's help in a dispute with a rival Board

Member.

        51.      On or about November 24, 2019, MAXWELL and HARRIS possessed firearms in

a vehicle in Cape Girardeau, Missouri, on their way to confront rivals as part of an ongoing

dispute.

        52.      On or about December 30, 2019, SMITH helped MAXWELL locate K.W. in the

federal prison system in order to harm or kill K. W.




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         53.    On or about February 9, 2020, CLEMON provided MAXWELL with a set of lies

 to tell police about their involvement in the killing of Leroy Allen and the wounding of D.W. and

 M.K in Bridgeton, Missouri.

         54.    On or about February 14, 2020, SMITH, CLEMON, MAXWELL, and other

 Gangster Disciples members gathered in Chicago for the funeral of Gangster Disciples Board

 Member Duffy Clark.

        55.     On or about February 24, 2020, GRIFFIN sent SMITH a letter discussing gang

 business including GRIFFIN' s conflicts with rival Board Members.

        56.     On or about February 26, 2020, after learning that police were investigating them

 for the murder of Leroy Allen, CLEMON and MAXWELL planned to hold a "giveaway" or

 "cleanup" to improve the image of the Gangster Disciples.

        57.     On or about April 1, 2020, MAXWELL sent SMITH documents showing that a

 Gangster Disciples member had cooperated with law enforcement.

        58.     On or about April 19, 2020, MAXWELL ordered that an incarcerated Gangster

 Disciples member at Southeast Correctional Center "take care of' a rival at that facility in order

 to earn a promotion to a leadership position.

        59.     From in or about April of 2020 through in or about July of 2020, BOYCE

 smuggled 4F-MDMB-BUTINACA, a controlled substance commonly known as "K2," into

 Southeast Correctional Center with help from Gangster Disciples inmates at that facility.

        60.     On or about May 22, 2020, SMITH participated by telephone in the confrontation

 of a subordinate Gangster Disciples member in South Carolina.

        61.     In or about June of 2020, CLEMON and MAXWELL each sought SMITH's

 intervention in a dispute over the Gangster Disciples leadership structure in Missouri.




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         62.     On or about July 24, 2020, SMITH possessed a Colt Python revolver, a Glock

 9mm pistol with an obliterated serial number, assorted ammunition, Gangster Disciples

 literature, and Gangster Disciples correspondence at a residence in Naperville, Illinois.

         63.     On or about October 17, 2020, in Fairview Heights, Illinois, BOYCE distributed

 approximately two pounds of "K2" to a Gangster Disciples member.

        64.     On or about October 22, 2020, BOYCE offered a Gangster Disciples member

 $10,000 per victim to kill K.T., Z.C., S.R., Z.N., T.C., and A.L., in retaliation for their

 involvement in the murder of Madison Robinson, the daughter of Gangster Disciples Board

 Member S.C., also known as "Shake."

        65.     On or about October 24, 2020, BOYCE provided a Draco 7.62x39 caliber firearm

 to a Gangster Disciples member for use in the killing of K.T., Z.C., S.R., Z.N., T.C., and A.L.



                                  Notice of Enhanced Sentencing

        1.      As part of their agreement to conduct and participate in the conduct of the affairs

 of the Gangster Disciples enterprise through a pattern of racketeering activity, defendants

 FRANK SMITH, WARREN GRIFFIN, SEAN CLEMON, DOMINQUE MAXWELL,

 PERRY HARRIS, and BARRY BOYCE, and others known and unknown, agreed that acts of

 murder would be committed in violation of Missouri Revised Statutes, Section 565.020, to wit,

 knowingly causing the death of another person after deliberation upon the matter; and Missouri

Revised Statutes, Section 565.021, to wit, (1) knowingly causing the death of another person

 and, with the purpose of causing serious physical injury to another person, causing the death of

 another person; and (2) committing and attempting to commit any felony where, in the

 perpetration and the attempted perpetration of such felony and in the flight therefrom, another

person is killed as a result of the perpetration and attempted perpetration of such felony and

immediate flight therefrom.



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        2.       As part oftheir agreement to conduct and participate in the conduct of the affairs

 of the Gangster Disciples enterprise through a pattern of racketeering activity, defendants

 FRANK SMITH, WARREN GRIFFIN, and ANTHONY DOBBINS, and others known and

 unknown, agreed that acts of murder would be committed in violation ofChapter 720, Illinois

 Compiled Statutes, Section 5/9-l(a), to wit, a person's killing an individual without lawful

justification while, in performing the acts which cause the death, the person (1) intends to kill

 and do great bodily harm to that individual or another, and knows that such acts will cause death

 to that individual or another; and (2) knows that such acts create a strong probability of death and

 great bodily harm to that individual or another; and where:

        a. such murder is committed in a cold, calculated and premeditated manner pursuant to a

             preconceived plan, scheme and design to take a human life by unlawful means, and

             the conduct of the perpetrator creates a reasonable expectation that the death of a

             human being would result therefrom, in violation of Chapter 720, Illinois Compiled

             Statutes, Section 5/9-1(b)(11); and

        b. during the commission of such murder, the person personally discharges a firearm

             that proximately causes great bodily harm, permanent disability, permanent

             disfigurement, and death to another person, in violation of Chapter 730, Illinois

             Compiled Statutes, Section 5/5-8-1(a)(l )(d)(iii).

All in violation ofTitle 18, United States Code, Sections 1962(d) and 1963(a).




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                                           COUNT2
                                 (Murder in Aid of Racketeering)
         1.     At all times relevant to this Indictment, the Gangster Disciples, as more fully

 described in Paragraphs 1 through 12 of Count 1 of this Indictment, which are realleged and

 incorporated by reference herein, including its leaders, members, and associates, constituted an

 enterprise as defined in Title 18, United States Code, Section 1959(b)(2), that is, a group of

 individuals associated in fact that was engaged in, and the activities of which affected, interstate

 and foreign commerce. The enterprise constituted an ongoing organization whose members

 functioned as a continuing unit for a common purpose of achieving the objectives of the

 enterprise.

        2.      At all times relevant to this Indictment, the above-described enterprise, the

 Gangster Disciples, through its members and associates, engaged in racketeering activity as

 defined in Title 18, United States Code, Section 1959(b)(1) and Section 1961(1), that is, acts

 indictable under Title 18, United States Code, Section 1512; acts indictable under Title 18,

 United States Code, Section 1513; acts indictable under Title 18, United States Code, Section

 1956; acts indictable under Title 18, United States Code, Section 1958; acts involving murder in

 violation of the laws of Illinois and Missouri; and offenses involving trafficking in controlled

 substances in violation of Title 21, United States Code, Sections 841 and 846.

        3.      On or about April 28, 2018, in the Southern District of Illinois, the Eastern

 District of Missouri, and elsewhere, defendants:

                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly and unlawfully murder Leroy Allen, in violation of Missouri Revised Statutes,

 Sections 565.020 and 565.021, for the purpose of maintaining and increasing position in the

 Gangster Disciples, an enterprise engaged in racketeering activity.

     All in violation of Title 18, United States Code, Section 1959(a)(l ) and Section 2.


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                                         COUNT3
               (Use of a Firearm During and in Relation to a Crime of Violence)
        On or about April 28, 2018, in the Southern District of Illinois, the Eastern District of

 Missouri, and elsewhere, defendants:

                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly use, carry, brandish, and discharge a firearm during and in relation to a crime of

 violence for which the defendants may be prosecuted in a court of the United States, that is, the

 murder of Leroy Allen as alleged in Count 2 of this Indictment.

        All in violation of Title 18, United States Code, Section 924(c)(l )(A) and Section 2.




                                        COUNT4
      (Use of a Firearm During and in Relation to a Crime of Violence Causing Death)
        On or about April 28, 2018, in the Southern District of Illinois, the Eastern District of

Missouri, and elsewhere, defendants:

                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
aided and abetted by one another and by others known and unknown to the grand jury, did

knowingly use and carry a firearm during and in relation to a crime of violence for which the

defendants may be prosecuted in a court of the United States, that is, the murder of Leroy Allen

as alleged in Count 2 of this Indictment, and in the course of such violation caused the death of

Leroy Allen through the use of a firearm, with such killing being murder as defined in Title 18,

United States Code, Section 1111.

        All in violation of Title 18, United States Code, Section 924G)(l) and Section 2.




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                                         COUNTS
                           (Attempted Murder in Aid of Racketeering)
        1.      Paragraphs 1 and 2 of Count 2 of this Indictment are realleged and incorporated

 here by reference as though fully set forth herein.

        2.      On or about April 28, 2018, in the Southern District of Illinois, the Eastern

 District of Missouri, and elsewhere, defendants:
                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly and unlawfully attempt to murder D.W. in violation of Missouri Revised Statutes,

 Sections 565.020, 565.021, and 562.012, for the purpose of maintaining and increasing position

 in the Gangster Disciples, an enterprise engaged in racketeering activity.

     All in violation of Title 18, United States Code, Section 1959(a)(5) and Section 2.




                                         COUNT6
               (Use of a Firearm During and in Relation to a Crime of Violence)
        On or about April 28, 2018, in the Southern District of Illinois, the Eastern District of

 Missouri, and elsewhere, defendants:
                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly use, carry, brandish, and discharge a firearm during and in relation to a crime of

 violence for which the defendants may be prosecuted in a court of the United States, that is, the

 attempted murder of D.W. as alleged in Count 5 of this Indictment.

        All in violation of Title 18, Unitec;l States Code, Section 924(c)(1)(A) and Section 2.




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                                         COUNT7
                           (Attempted Murder in Aid of Racketeering)
        1.      Paragraphs 1 and 2 of Count 2 of this Indictment are realleged and incorporated

 here by reference as though fully set forth herein.

        2.      On or about April 28, 2018, in the Southern District of Illinois, the Eastern

 District of Missouri, and elsewhere, defendants:
                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly and unlawfully attempt to murder M.K. in violation of Missouri Revised Statutes,

 Sections 565.020, 565.021, and 562.012, for the purpose of maintaining and increasing position

in the Gangster Disciples, an enterprise engaged in racketeering activity.

     All in violation of Title 18, United States Code, Section 1959(a)(5) and Section 2.




                                         COUNTS
               (Use of a Firearm During and in Relation to a Crime of Violence)
        On or about April 28, 2018, in the Southern District of Illinois, the Eastern District of

Missouri, and elsewhere, defendants:
                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
aided and abetted by one another and by others known and unknown to the grand jury, did

knowingly use, carry, brandish, and discharge a firearm during and in relation to a crime of

violence for which the defendants may be prosecuted in a court of the United States, that is, the

attempted murder of M.K. as alleged in Count 7 of this Indictment.

        All in violation of Title 18, United States Code, Section 924(c)(1)(A) and Section 2.




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                                         COUNT9
                           (Attempted Murder in Aid of Racketeering)
        1.      Paragraphs 1 and 2 of Count 2 of this Indictment are realleged and incorporated

 here by reference as though fully set forth herein.

        2.      On or about April 28, 2018, in in the Southern District of Illinois, the Eastern

 District of Missouri, and elsewhere, defendants:
                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly and unlawfully attempt to murder G.J. in violation of Missouri Revised Statutes,

 Sections 565.020, 565.021, and 562.012, for the purpose of maintaining and increasing position

 in the Gangster Disciples, an enterprise engaged in racketeering activity.

     All in violation of Title 18, United States Code, Section l959(a)(5) and Section 2.




                                         COUNT 10
               (Use of a Firearm During and in Relation to a Crime of Violence)
        On or about April 28, 2018, in the Southern District of Illinois, the Eastern District of

 Missouri, and elsewhere, defendants:
                           FRANK SMITH, SEAN CLEMON,
                       DOMINQUE MAXWELL, and PERRY HARRIS,
 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly use, carry, brandish, and discharge a firearm during and in relation to a crime of

 violence for which the defendants may be prosecuted in a court of the United States, that is, the

 attempted murder of G.J. as alleged in Count 9 of this Indictment.

        All in violation of Title 18, United States Code, Section 924(c)(l)(A) and Section 2.




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                                           COUNT 11
                                 (Murder in Aid of Racketeering)
         1.     Paragraphs 1 and 2 of Count 2 of this Indictment are realleged and incorporated

 here by reference as though fully set forth herein.

        2.      On or about May 18, 2018, in the Southern District of Illinois, the Northern

 District of Illinois, and elsewhere, defendants:

                        WARREN GRIFFIN and ANTHONY DOBBINS,

 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly and unlawfully murder Ernest Wilson, in violation of Chapter 720, Illinois Compiled

 Statutes, Sections 5/9-1, for the purpose of maintaining and increasing position in the Gangster

 Disciples, an enterprise engaged in racketeering activity.

     All in violation of Title 18, United States Code, Section 1959(a)(l ) and Section 2.




                                         COUNT 12
               (Use of a Firearm During and in Relation to a Crime of Violence)
        On or about May 18, 2018, in the Southern District of Illinois, the Northern District of

 Illinois, and elsewhere, defendants:

                        WARREN GRIFFIN and ANTHONY DOBBINS,

 aided and abetted by one another and by others known and unknown to the grand jury, did

knowingly use, carry, brandish, and discharge a firearm during and in relation to a crime of

 violence for which the defendants may be prosecuted in a court of the United States, that is, the

murder of Ernest Wilson as alleged in Count 11 of this Indictment.

        All in violation of Title 18, United States Code, Section 924(c)(l)(A) and Section 2.




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                                        COUNT 13
       (Use of a Firearm During and in Relation to a Crime of Violence Causing Death)
        On or about May 18, 2018, in the Southern District of Illinois, the Northern District of

 Illinois, and elsewhere, defendants:

                        WARREN GRIFFIN and ANTHONY DOBBINS,

 aided and abetted by one another and by others known and unknown to the grand jury, did

 knowingly use and carry a firearm during and in relation to a crime of violence for which the

 defendants may be prosecuted in a court of the United States, that is, the murder of Ernest

 Wilson as alleged in Count 11 of this Indictment, and in the course of such violation caused the

 death of Ernest Wilson through the use of a firearm, with such killing being murder as defined in

 Title 18, United States Code, Section 1111.

        All in violation of Title 18, United States Code, Section 924(j)(l) and Section 2.



                                  FORFEITURE PROVISIONS

        1.      Upon conviction of the offense in violation of Title 18, United States Code,

 Section 1962, alleged in Count 1 of this Indictment, the defendants, FRANK SMITH,

 WARREN GRIFFIN, ANTHONY DOBBINS, SEAN CLEMON, DOMINQUE

 MAXWELL, PERRY HARRIS, and BARRY BOYCE, shall forfeit to the United States

 pursuant to Title 18, United States Code, Section 1963:

                 a. any interest acquired or maintained in violation of Section 1962;

                b. any interest in, security of, claim against, and property and contractual right

                    of any kind affording a source of influence over, any enterprise which the

                    defendants established, operated, controlled, conducted, or participated in the

                    conduct of, in violation of Section 1962; and

                c. any property consisting of, and derived from, any proceeds obtained, directly

                    or indirectly, from racketeering activity in violation of Section 1962.



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         2.     Upon the conviction of any of the offenses charged in this Indictment, the

 defendants, FRANK SMITH, WARREN GRIFFIN, ANTHONY DOBBINS, SEAN

 CLEMON, DOMINQUE MAXWELL, PERRY HARRIS, and BARRY BOYCE, shall forfeit

 to the United States pursuant to Title 18, United States Code, Section 924(d), and Title 28,

 United States Code, Section 2461(c), all firearms and ammunition used in any knowing violation

 of Title 18, United States Code, Section 924 and of any other criminal law of the United States.

         3.     The property to be forfeited includes but is not limited to:

                a. A sum of money in United States currency representing the amount of

                    proceeds obtained as a result of each offense for which the defendant is

                    convicted.

                b. The following firearms and ammunition:

                         1. One Glock 9mm semi-automatic pistol with serial number BEDG545;

                        ii. One Ruger 9mm semi-automatic pistol with serial number 335-49330;

                       m. One Hi-Point .380 caliber semi-automatic pistol with serial number
                          P8134910;

                       1v. One Glock 9mm semi-automatic pistol with obliterated serial number;

                        v. One Colt .357 caliber revolver with serial number E72940;

                       vi. One Jimenez Arms 9mm semi-automatic pistol with serial number
                           304908;

                       v11. One Draco 7.62 x 39mm semi-automatic pistol with serial number DF-
                            1825-19; and

                      viii. Assorted ammunition.


        4.      If, as a result of any act or omission of the defendants, any property subject to

 forfeiture (a) cannot be located upon the exercise of due diligence; (b) has been transferred or

 sold to, or deposited with, a third person; (c) has been placed beyond the jurisdiction of the court;



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 (d) has been substantially diminished in value; or (e) has been commingled with other property

 which cannot be subdivided without difficulty, the United States intends, pursuant to Title 18,

 United States Code, Section 1963(m) and Title 28, United States Code, Section 2461(c), to seek

 forfeiture of any other property of the defendants up to the value of the forfeitable property or

 seek a money judgment against said defendants for any amount that would constitute the

 proceeds of such violation.




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 Assistant United States Attorney                          Department of Justice Trial Attorney
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 STEVEN D. WEINHOEFT                                               YFRANKER
 United States Attorney                                         rtment of Justice Trial Attorney




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